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                          Office of the Chief Financial Officer
                         Grants Financial Management Division

            Establishing, Managing & Generating Effective Services, Inc.
                                    Chicago IL
                     Vendor #: 363895807 DUNS#: 006056061
                               SV2021-Feb363895807

                   Enhanced Desk Review Date: February 10, 2021

          Digitally signed   OCFO Financial Monitoring Staff:
JIN LIU   by JIN LIU
          Date: 2021.03.25
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                    Faith Sunga
                                              1 Level Reviewer

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Introduction

The Office of Justice Programs (OJP), Office of the Chief Financial Officer (OCFO) conducted a
joint grant financial and programmatic monitoring enhanced desk review on the Establishing,
Managing and Generating Effective Services, Inc. (EMAGES) with grant manager from the
Bureau of Justice Assistance (BJA). The results of the programmatic review will be documented
in the OJP’s JustGrants system.

The enhanced desk review was conducted at the request of the BJA because of the alleged
misuse of grant funds and the whistleblower complaint filed with the Office of the Inspector
General in August 2020.

The enhanced desk review was originally scheduled for November 30, 2020. Due to a federal
lawsuit involving the EMAGES, the review and entrance teleconference was rescheduled and
held on February 10, 2021 with the following EMAGES’ officials:

       Hattie Wash, Chief Executive Officer
       Sheila Chew, Office Manager
       Thomas Bradley, Accountant
       Andrea Hayland, Accountant

The OCFO reviewed the following grant awarded through the Department of Justice (DOJ):

                                                                                Project
                                                     Program       Award         Start      Project
  Grant Number           Program Description          Office       Amount        Date      End Date
 2018-CY-BX-0025         BJA FY 18 SCA RE 2            BJA       $500,000.00   10/1/2018   9/30/2021




Scope

The enhanced desk review conducted by the OCFO consisted of a limited scope review of the
EMAGES’ accounting system and internal control procedures related to the receipt and
disbursement of Federal funds. We reviewed the EMAGES’ grant financial management
processes to determine whether the EMAGES complied with the appropriate legislative,
regulatory, and administrative requirements pertinent to their specific awards. For each of the
transactions tested, we reviewed the following:
   1) Whether the internal controls in place for the processing and payment of funds were
      adequate to safeguard grant funds and ensure compliance with the terms and special
      conditions of the awards;
   2) Whether the grant drawdowns were adequately supported and if the EMAGES was
      managing grant receipts in accordance with the federal requirements;
   3) Whether the EMAGES properly accounted for the receipt and expenditure of Federal


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       funds;
   4) Whether expenditures charged to the grants were allowable, reasonable, allocable, and
      necessary for the project;
   5) Whether grant expenditures were in accordance with the approved budgets;
   6) Whether the required federal financial reports and progress reports were submitted within
      the required timeframes and accurately reflect grant activities; and
   7) Whether the EMAGES is in compliance with the following Federal regulations and
      guidelines:
                   Title 2 Code of Federal Regulations (CFR) Part 200, Uniform Administrative
                    Requirements, Cost Principles, and Audit Requirements;
                   DOJ Grants Financial Guide



Internal Controls

Effective internal control and accountability must be maintained to provide: (1) Reliability of
financial reporting, (2) Effectiveness and efficiency operations, (3) Compliance with laws and
regulations, and (4) to reduce the risk of fraud, waste, and abuse.

Title 2 CFR Part 200.303, Internal controls (a) states that “The non-Federal entity must:
Establish and maintain effective internal control over the Federal award that provides reasonable
assurance that the non-Federal entity is managing the Federal award in Compliance with Federal
statutes, regulations, and the terms and conditions of the Federal award.”
All grantees and subgrantees must maintain records which adequately identify the source and
application of funds provided for financially-assisted activities. These records must contain
information pertaining to grant or subgrant awards and authorizations, obligations, unobligated
balances, assets, liabilities, outlays or expenditures, and income. Additionally, the Financial
Management System must meet Federal standards for financial reporting, accounting records,
internal control, budget control, allowable costs, source documentation, and cash management.
These Federal standards are discussed in detail in the Financial Management System section of
this report.

We reviewed the EMAGES’ financial management system, policies and procedures, and Single
Audit Report to assess the risk of non-Compliance to laws, regulations, guidelines, and terms and
special conditions of the grants. We Compared the written policies and procedures to the
guidelines listed in Scope, Item 7 to determine whether they meet the requirements of those
guidelines. We also interviewed EMAGES personnel regarding areas such as payroll,
procurement, accounts payable, and fixed assets. In addition, for the limited testing conducted,
we reviewed whether the transactions were handled in accordance with the EMAGES’ written
policies and procedures.

Our concerns are discussed in detail in the Recommendations section of this report.


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Summary of Recommendations

Our limited scope review and testing of transactions resulted in the following financial and
administrative recommendations relating to the EMAGES’ accounting practices and internal
controls. These ecommendations were discussed with BJA, and also discussed with the
following EMAGES officials during the exit teleconference on February 10, 2020:

      Hattie Wash, Chief Executive Officer
      Sheila Chew, Office Manager
      Thomas Bradley, Accountant
      Andrea Hayland, Accountant


                                Summary of Recommendations

 Recommendation
        #             Grant Number                        Description of Recommendation
     SV2021-
 Feb363895807-01    2018-CY-BX-0025     Procedures need improvement – Federal Grants Management
     SV2021-
 Feb363895807-02    2018-CY-BX-0025     Procedures Need Improvement - Travel
     SV2021-
 Feb363895807-03    2018-CY-BX-0025     Policies need improvement – Procurement – Conflicts of interest:
     SV2021-
 Feb363895807-04    2018-CY-BX-0025     Commingling of Grant Funds – Individual accounts not established
     SV2021-
 Feb363895807-05    2018-CY-BX-0025     Consultant service charge exceed rate limit
     SV2021-
 Feb363895807-06    2018-CY-BX-0025     Unsupported Costs – Other
     SV2021-
 Feb363895807-07    2018-CY-BX-0025     Award special condition violated – Unauthorized Expenditures




Policies and Procedures

Grantees are expected to have adequate internal controls in place to properly safeguard and
administer grant funds, including written policies and procedures that ensure funds are used for
authorized purposes.

The EMAGES’ primary policies and procedures are outlined in their Fiscal Policies &
Procedure. We reviewed the following policies and procedures:
      Payroll/Time and Attendance
      Travel
      Procurement
      Fixed Asset and Inventory

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      Federal Grants Management

Based on our review, we noted the following:

      The EMAGES maintains general written procedures for Federal Grants
       Management. However, these procedures did not clearly define areas of responsibilities
       relative to federal grants management, and did not include specific provisions for
       tracking grant expenditures by approved budget categories, compliance with federal cash
       management policies, requesting drawdowns, reconciliation between accounting records
       and Federal Financial Reports (FFRs), requesting prior approvals for paying consultant
       fees in excess of the Department of Justice's (DOJ) threshold amounts, requesting prior
       approvals for sole source contracts in excess of the DOJ threshold amounts, and other
       pertinent federal grants management information [See Recommendation SV2021-
       Feb363895807-01].

      The EMAGES’ Travel policies and procedures are too general and do not provide clear,
       and comprehensive directions describing all travelling functions and related activities
       performed to ensure adequate control of Federal funds [See Recommendation SV2021-
       Feb363895807-02].

      The EMAGES maintains general procurement policies and procedures. However, the
       procedures did not include provisions to address actual or potential organizational
       conflicts of interest when procuring products or services [See Recommendation SV2021-
       Feb363895807-03].




Financial Management System

All recipients and subrecipients are required to establish and maintain adequate accounting
systems and financial records and to accurately account for funds awarded to them. As a
recipient, you must have a financial management system in place that is able to record and report
on the receipt, obligation, and expenditure of grant funds.

Title 2 CFR Part 200.302 (b), Financial management, “The financial management system of
each non-Federal entity must provide for the following:

       1. Identification, in its accounts, of all Federal awards received and expended and the
          Federal programs under which they were received. Federal program and Federal
          award identification must include, as applicable, the catalog of federal domestic
          assistance (CFDA) title and number, Federal award identification number and year,
          name of the Federal agency, and name of the pass-through entity, if any.

       2. Accurate, current, and complete disclosure of the financial results of each Federal


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               award or program.

          3. Records that identify adequately the source and application of funds for federally-
             funded activities. These records must contain information pertaining to Federal
             awards, authorizations, obligations, unobligated balances, assets, expenditures,
             income and interest and be supported by source documentation.

          4. Effective control over, and accountability for, all funds, property, and other assets.
             The non-Federal entity must adequately safeguard all assets and assure that they are
             used solely for authorized purposes.

          5. Comparison of expenditures with budget amounts for each Federal award.

          6. Written procedures to implement the requirements of part 200.305 Payment.

          7. Written procedures for determining the allowability of costs in accordance with
             Subpart E, Cost Principles of this part and the terms and conditions of the Federal
             award.”

The EMAGES maintains a chart of accounts and utilizes the QuickBooks and Microsoft Excel for
accounting and reporting. The EMAGES utilizes Reports generated by this system to track
budget to actual costs and revenues associated with each grant.

Based on our analysis of the EMAGES’ financial activities and interviews with EMAGES
officials, we noted that the EMAGES is commingling the grant 2018-CY-BX-0025 funds with
other federal agencies’ funds within their accounting system. As a result, we could not
determine the actual breakdown of expenditures charged to this grant from the EMAGES’
accounting records as illustrated in the following table [See Recommendation SV2021-
Feb363895807-04].

                 Comparison of Budget to Actual Expenditures as of June 30, 2020
                                                                   Available Balance
       Grant and Budget              Approved         Actual          (Deficit) of        Percentage of
    Categories/Purpose Area           Budget        Expenditures        Budget         Budget Expended
 2018-CY-BX-0025
 Personnel                               $290,880             *                    *                  *
 Fringe Benefits                          $55,268             *                    *                  *
 Travel                                    $2,700             *                    *                  *
 Equipment                                 $3,000             *                    *                  *
 Supplies                                  $4,610             *                    *                  *
 Contractual                             113,200              *                    *                  *
 Other                                    30,342              *                    *                  *
 Total Project Costs                    $500,000              *                    *                  *
* Could not Determine

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Reporting Requirements

The Department of Justice (DOJ) requires award recipients to submit both financial and program
reports. These reports describe the status of the funds or the project, compare actual
accomplishments to objectives, and provide other pertinent information.

Per Title 2 CFR 200.328, Monitoring and reporting program performance, (b) Non-construction
performance reports:
        ” (1) The non-Federal entity must submit performance reports at the interval required by
        the Federal awarding agency or pass-through entity to best inform improvements in
        program outcomes and productivity.”

       (2) The non-Federal entity must submit performance reports using OMB-approved
       government wide standard information collections when providing performance
       information. As appropriate in accordance with above mentioned information collections,
       these reports will contain, for each Federal award, brief information on the following
       unless other collections are approved by OMB:

              (i) A Comparison of actual accomplishments to the objectives of the Federal
              award established for the period.

              (ii) The reasons why established goals were not met, if appropriate.

              (iii) Additional pertinent information including, when appropriate, analysis and
              explanation of cost overruns or high unit costs”.

Progress/Program reports provide information relevant to the performance and activities of a
plan, program, or project. The EMAGES is required to submit semiannual and annual
performance reports on specified dates as stipulated on the special conditions on each of their
award documents. Program reports for the OJP grants must be submitted online through the
OJP’s Grants Management System (GMS) through the quarter ended June 30, 2020, and through
the Justice Grants System (JustGrants) after June 30, 2020.

We reviewed the most recently submitted Progress/Program report for the grant reviewed and
noted that the EMAGES submitted their progress report within the required timeframes.
Title 2 CFR 200.327 Financial reporting, states that “Unless otherwise approved by OMB, the
Federal awarding agency may solicit only the standard, OMB-approved government wide data
elements for collection of financial information. This information must be collected with the
frequency required by the terms and conditions of the Federal award, but no less frequently than
annually nor more frequently than quarterly except in unusual circumstances, for example where
more frequent reporting is necessary for the effective monitoring of the Federal award or could
significantly affect program outcomes, and preferably in coordination with performance
reporting.”



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  The SF-425 Federal Financial Report (FFR) should show the actual funds you have spent
  (expenditures) and any bills you are going to pay (unliquidated obligations incurred) at the
  recipient/subrecipient level, both for the reporting period and cumulatively, for each award.
  The FFRs are to be submitted online through the Grants Management System (GMS)/Financial
  Status Reports Module for FFRs through the quarter ended June 30, 2020, and through the
  Justice Grants System (JustGrants) after June 30, 2020, no later than 30 days after the last day of
  each calendar quarter

  We reviewed the four most recently submitted FFRs for the grant reviewed during this remote
  review to determine whether these reports were timely submitted. Based on our review, we noted
  that the EMAGES submitted their FFRs for the grant reviewed within the required timeframes.



  Reconciliation and Cash Management

  The EMAGES prepares FFRs using general ledger reports generated from their QuickBooks
  accounting system (RIFANS), and Microsoft Excel spreadsheets.

  An analysis of the EMAGES’ financial activities for the period ended June 30, 2020 is shown on
  the following table:

             Reconciliation of Accounting Records to the FFR/Excess Cash Analysis
                                               Cumulative
                               Cumulative       Federal                          Funds        Accounting
                                Federal       Expenditures                    Requested as     Records -
                     Final    Expenditures    per grantee's   Variance FFR       of FFR       Drawdowns
                    Report    Reported on      Accounting     vs Accounting   Quarter End       (Excess
 Grant Number      (Yes/No)      FFR            Records          Records      (drawdowns)        Cash)
2018-CY-BX-0025      No             250,655               *               *        $235,511             *
  * Could not Determine

  We reviewed the EMAGES’ accounting records, to determine if the cumulative expenditures
  reported on the FFR agreed with the cumulative expenditures recorded in the EMAGES’
  accounting system. Based on our review, we could not determine the cumulative federal
  expenditures charged to the grant because funds under this grant are commingled with other
  federal agencies’ grants within their accounting system. Therefore, we are unable to reconcile
  the cumulative expenditures reported on the FFR for the quarter ended June 30, 2020 with the
  cumulative federal expenditures recorded in EMAGES’ accounting system.

  Furthermore, the Cash Management Improvement Act (CMIA) of 1990 was enacted to ensure
  efficiency, effectiveness, and equity in the transfer of funds between State and Federal
  Governments.

  Per Title 2 CFR 200.305 Payment, “(a) For states, payments are governed by Treasury-State
  CMIA agreements and default procedures codified at 31 CFR Part 205 “Rules and Procedures


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for Efficient Federal-State Funds Transfers” and TFM 4A-2000 Overall Disbursing Rules for All
Federal Agencies.

       (1) The non-Federal entity must be paid in advance, provided it maintains or
       demonstrates the willingness to maintain both written procedures that minimize the time
       elapsing between the transfer of funds and disbursement by the non-Federal entity, and
       financial management systems that meet the standards for fund control and accountability
       as established in this part. Advance payments to a non-Federal entity must be limited to
       the minimum amounts needed and be timed to be in accordance with the actual,
       immediate cash requirements of the non-Federal entity in carrying out the purpose of the
       approved program or project. The timing and amount of advance payments must be as
       close as is administratively feasible to the actual disbursements by the non-Federal entity
       for direct program or project costs and the proportionate share of any allowable indirect
       costs.

       (2) Whenever possible, advance payments must be consolidated to cover anticipated cash
       needs for all Federal awards made by the Federal awarding agency to the recipient.

Per the DOJ Grants Financial Guide, Part III Postaward Requirements, Section 3.1 Payments,
“Your organization should request funds based upon immediate disbursement/reimbursement
requirements. Funds will not be paid in a lump sum, but rather disbursed over time as project
costs are incurred or anticipated. Draw down requests should be timed to ensure that Federal
cash on hand is the minimum needed for disbursements/reimbursements to be made immediately
or within 10 days. If not spent or disbursed within 10 days, funds must be returned to the
awarding agency.”

Since the EMAGES is commingling the grant 2018-CY-BX-0025 funds with other federal
agencies’ funds within their accounting system, we could not determine if the EMAGES is
managing drawdown requests to ensure federal cash on hand is the minimum amount necessary
for immediate reimbursement needs.



Program Expenditures

To properly account for federal awards, grant recipients should establish and maintain program
accounts which enable, on an individual basis, separate identification and accounting for:
   1) Receipt and disposition of all funds (including program income);
   2) Funds applied to each budget category included within the approved award budget;
   3) Expenditures governed by any special conditions and general provisions; and
   4) Any non-Federal matching contributions, if required

We judgmentally selected a sample of 33 transactions, totaling $34,755.77 in expenditures
charged to the grants reviewed, to determine whether the transactions were handled in

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accordance with the EMAGES’ written policies and procedures and in Compliance with Federal
and program guidelines.

Although the funds were commingled and we were not able to identify the expenditures charged
to the grant for every budget category, we were able to identify and sample some expenditures
specific to this grant. Based on a judgmental sample review of expenditures and documentation
provided, we noted the following:

       The EMAGES charged award 2018-CY-BX-0025 with $450.63 in unauthorized
        contractual costs related to consultant fees that exceeded the DOJ maximum threshold
        for consultant rate of $650 per day or $81.25 per hour without prior approval from the
        Bureau of Justice Assistance (BJA) as shown on the following table [See
        Recommendation SV2021-Feb363895807-05]:

                                                   Rate      Charged      Costs Limit
 Sample#             Account              Hours   Applied    to grant    ($81.25 rate)    Overcharged
              60060 ꞏ Consultants 2nd
    5                 Chance              13.00    $89.23    $1,160.00        $1,056.25       $103.75
              60060 ꞏ Consultants 2nd
    6                 Chance              10.5    $114.29    $1,200.00          853.125       $346.88
                                                                                  Total       $450.63



       The EMAGES was unable to provide adequate documentation (costs allocation) to
        support the $800 in Other Costs charged to award 2018-CY-BX-0025 as shown on the
        following table [See Recommendation 09 SV2021-Feb363895807-06]:

                               Sample #         Account           Amount
                                 18        67500 ꞏ Rental/Space    $800.00

As a result of our recommendations and $1,250.63 in questioned costs identified by OCFO
during this review, we recommend that all of the EMAGES’ Financial Point of Contact (FPOC)
and Point of Contact (POC) complete the DOJ Online Grants Financial Management training
located on the OJP web site at https://onlinegfmt.training.ojp.gov/. However, during our
enhanced desk review, the EMAGES provided the OCFO with their FPOC and POC’s DOJ
Online Grants Financial Management Training Certificates completed in February 2019 [See
Technical Assistance].



Indirect Costs

Based on the grant and Federal guidelines, indirect costs can be applicable to all grants if it is in
the approved budget. We noted that indirect costs is not included in the approved budget for the
grant reviewed. We also noted that there were no indirect costs recorded in the EMAGES’
 accounting system and there were no indirect costs reported on the FFR as of the quarter ended
June 30, 2020.

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Match

Based on the grant and Federal guidelines for the grant reviewed, matching funds were not
required. Match were not recorded in the EMAGES’ accounting system and none were reported
on the FFR as of the quarter ended June 30, 2020.



Program Income

Based on the grant and Federal guidelines, program income was not applicable to the grant
reviewed. No additional revenue related to program income was recorded in the EMAGES’
accounting system and none were reported on the FFR as of the quarter ended June 30, 2020.



Conference Costs

Grant 2018-CY-BX-0025 is not subject to the conference cost prior approval and reporting
requirements.



Sub-recipient Monitoring and FFATA Compliance

The grant reviewed did not have subawards and therefore, was not subject to subrecipient
monitoring and the reporting requirements under the Federal Funding Accountability and
Transparency Act (FFATA).



Special Conditions

All financially related special conditions have been satisfied for all grants reviewed that had
expenditures as of our enhanced desk review date, and the appropriate Grant Adjustment Notice
(GAN) to remove these special conditions have been issued and approved in the OJP’s Grants
Management System (GMS).

Based on an analysis of the EMAGES’ financial activities, we noted that the EMAGES did not
comply with the following special conditions of their award for the following grant:


      Grant            Special Condition (SC) Summary                   Date Released by GAN#/
                     SC# 42, 43, 44, and 45 related to financial   GAN system ID # 1087183 released the
 2018-CY-BX-0025         and programmatic requirements                     SCs on 02/07/2019




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The above special conditions stated that the recipient may not obligate, expend or draw down
any award funds until the recipient meets certain programmatic and financial requirements, and a
Grant Adjustment Notice (GAN) has been issued removing the special conditions.

However, an analysis of the EMAGES’ financial activities revealed that the EMAGES signed off
on a contract with the Dr. Witherspoon from Chicago State University and obligated grant 2018-
CY-BX-0025 under this contract prior to the issuance of the GAN to release the above Special
Conditions as shown on the table below [See Recommendation SV2021-Feb363895807-07]:

                       Special         Date GAN was       Obligation
     Grant            Condition#         approved           Date               Contractor
                                                                         Dr. Witherspoon from
2018-CY-BX-0025   42, 43, 44, and 45    02/07/2019        01/20/2019    Chicago State University


Additionally, the DOJ award special conditions, requires recipients to obtain an active
registration with the System for Award Management (SAM) database. At the time of our
enhanced desk review, the EMAGES is current with their SAM registration which will expire on
October 28, 2021.



Single Audit Report

In accordance with Title 2 CFR 200.501, Audit requirements, recipients of Federal funds should
ensure that Single Audit Reports (SAR) or program-specific audits are conducted for each year
during which $750,000 or more in cumulative Federal funds is expended. SARs are due to the
Federal Audit Clearinghouse (FAC) within nine months after the close of the audit period.

Per the EMAGES’ Fiscal Year (FY) 2018-2019 Independent Audit Report on Financial
Statements, the cumulative Federal funds EMAGES expended in the FY 2018 and 2019 were
less than $750,000. Therefore, the SAR was not required for EMAGES in FY 2019.

We also reviewed the EMAGES’ FY 2019 Independent Audit Report on Financial Statements,
which was conducted by William C. Goodall, Certified Public Accountant. The results of the
financial audit indicated that the EMAGES’ financial statements present fairly, in all material
respects, the financial position of EMAGES as of December 31, 2019 and 2018 and the changes
in its net assets and its cash flows for the years then ended in accordance with accounting
principles generally accepted in the United States of America.



Technical Assistance

We informed the EMAGES officials that the OCFO’s Grants Financial Management Training
can be accessed online. We provided them with the website address of the DOJ online training

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course. We also informed the EMAGES officials that limited Basic and Advance Financial
Management Training Seminars are conducted throughout the year, and to check the OCFO’s
website for the training schedules. We encouraged the EMAGES officials to attend our live
training in Washington DC or take the financial management online training once every three
years for financial updates.

We also provided the EMAGES officials with the OCFO’s Customer Service telephone number,
fax number, email address, and a list of website addresses to DOJ resources.



Recommendations

The following Recommendations relating to the financial administration of the Establishing,
Managing and Generating Effective Services, Inc. (EMAGES) grant are intended to improve the
EMAGES’ accounting practices and strengthen internal controls in the following areas:

SV2021-Feb363895807-01 Procedures need improvement – Federal Grants Management

Based on our review, we noted that the EMAGES maintains general written procedures for
Federal Grants Management. However, these procedures did not clearly define areas of
responsibilities relative to federal grants management, and did not include specific provisions for
tracking grant expenditures by approved budget categories, compliance with federal cash
management policies, requesting drawdowns, reconciliation between accounting records and
Federal Financial Reports (FFRs), requesting prior approvals for paying consultant fees in excess
of the Department of Justice's (DOJ) threshold amounts, requesting prior approvals for sole
source contracts in excess of the DOJ threshold amounts, and other pertinent federal grants
management information.

Per Title 2 Code of Federal Regulations (CFR) Part 200, Uniform Administrative Requirements,
Cost Principles, and Audit Requirements for Federal Awards, Section 200.303, Internal
Controls, "The non-Federal entity must:

(a) Establish and maintain effective internal control over the Federal award that provides
reasonable assurance that the non-Federal entity is managing the Federal award in compliance
with Federal statutes, regulations, and the terms and conditions of the Federal award. These
internal controls should be in compliance with guidance in "Standards for Internal Control in the
Federal Government" issued by the Comptroller General of the United States or the "Internal
Control Integrated Framework", issued by the Committee of Sponsoring Organizations of the
Treadway Commission (COSO)."

In addition, per the COSO Integrated Framework components, Control Activities, "Control
activities are the actions established by the policies and procedures to help ensure that
management directives to mitigate risks to the achievement of objectives are carried out."



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Grantees are expected to have adequate internal controls in place to properly safeguard and
administer grant funds, including written policies and procedures that ensure that grant funds are
used for authorized purposes.

The EMAGES should enhance their written accounting policies and procedures specific to
Federal Grants Management, to include clear, detailed, and comprehensive directions describing
all accounting functions, and other related activities performed to ensure adequate control of
Federal funds. At a minimum, these procedures should contain provisions and instructions on:

        Recording grant revenues and expenditures in the EMAGES’ accounting system
        Accounting for all grant revenues and expenditures separately for each grant within the
         EMAGES’ accounting system
        Accounting for local match separately within the EMAGES’ accounting system, if
         applicable
        Accounting for and administering program income, if applicable
        Tracking grant expenditures by approved budget category or spending plan, to include
         administrative costs, at least on a quarterly basis
        Clearly defining areas of responsibility/ functions (who is responsible for which step of
         the process)
        Requesting grant funds (Drawdowns)
        Preparing and timely submitting Federal Financial Reports (FFRs) and
         Performance/Progress Reports
        Compliance with the Federal Funding Accountability and Transparency Act (FFATA)
         reporting requirements
        Reconciliation of FFRs with the accounting records at least on a quarterly basis
        Requesting prior approval from the awarding agency for paying consultants in excess of
         the Department of Justice's (DOJ's) threshold for consultant fees currently at $650 per
         day or $81.25 per hour
        Documenting sole source procurement and obtaining prior approval from the awarding
         agency to enter into a non-competitive contractual relationship with a contractor under a
         grant where the total contracted cost exceeds $250,000.
        Single Audit reporting to Federal Audit Clearinghouse (FAC)
        Complying with Federal cash management regulations
        Grant closeout
        Any other pertinent grant-related financial activities

The above procedures should be consistent with the requirements of the Title 2 Code of Federal
Regulations (CFR), Part 200 Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for Federal Awards, and the current DOJ Grants Financial Guide.

To close this recommendation, the EMAGES should:

        Provide a copy of their enhanced written policies and procedures for managing federal
          grants


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SV2021-Feb363895807-02 Procedures Need Improvement - Travel

Based on our review, we noted that the EMAGES’ Travel policies and procedures are too
general and do not provide clear, and comprehensive directions describing all travelling
functions and related activities performed to ensure adequate control of Federal funds.

Grantees are expected to have adequate internal controls in place to properly safeguard and
administer grant funds, including written policies and procedures that ensure funds are used for
authorized purposes.

The EMAGES should enhance their written travel policies and procedures which provide clear,
detailed and comprehensive directions describing all travelling functions and related activities
performed to ensure adequate control of Federal funds. At a minimum, these procedures should
contain provisions on:

      Travel authorizations and approvals of travel vouchers
      Mode of Air travel in line with the Federal Travel Regulations
      Ground transportation
      Local travel
      Lodging rates
      Meals and per diem rates in line with the Federal Travel Regulations
      Mileage (privately owned vehicles)
      Food and beverages
      Disallowance of Tips on Department of Justice (DOJ) grants

These policies and procedures should be consistent with the requirements of the Title 2, Code of
Federal Regulations (CFR), Part 200, Uniform Administrative Requirements, Cost Principles,
and Audit Requirements for Federal Awards, the Title 41, CFR, Subtitle F - Federal Travel
Regulation System, and the current DOJ Grants Financial Guide.

To close this recommendation, the EMAGES should:

      Provide the Office of the Chief Financial Officer (OCFO) with a copy of their
       updated Travel policies and procedures.



SV2021-Feb363895807-03 Policies need improvement – Procurement – Conflicts of interest

Based on our review, we noted that the EMAGES maintains general procurement policies and
procedures. However; the procedures did not include provisions to address actual or potential
organizational conflicts of interest when procuring products or services.

Title 2 CFR Part 200, Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for Federal awards, Subpart B, Section, 200.112 Conflict of interest requires "The


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non-Federal entity must disclose in writing any potential conflict of interest to the Federal
awarding agency or pass-through entity in accordance with applicable Federal awarding agency
policy". Further, Section 200.113 "Mandatory disclosures" also requires that - The non-Federal
entity or applicant for a Federal award must disclose, in a timely manner, in writing to the
Federal awarding agency or pass-through entity all violations of Federal criminal law involving
fraud, bribery, or gratuity violations potentially affecting the Federal award. Failure to make
required disclosures can result in any of the remedies described in 200.338 Remedies for
noncompliance, including suspension or debarment".

The requirements are echoed in the DOJ Grants Financial Guide, Part III Post award
Requirements, Section 3.20 Grant Fraud, Waste, and Abuse, Conflicts in fact, which states that,
"In the use of award funds (direct or indirect), a recipient or sub-recipient should not participate
in any decisions, approval, disapproval, recommendations, investigation decisions, or any other
proceeding concerning any of the following people or group

      An immediate family member;
      A partner;
      An organization in which they are serving as an officer, director, trustee, partner, or
        employee;
      Any person or organization with whom they are negotiating or who has an arrangement
        concerning prospective employment, has a financial interest, or for other reasons can
        have less than an unbiased transaction with the recipient or sub-recipient.”

The EMAGES should include this provision in their written procurement policies and procedures
to include written standards of conduct governing the performance of its employees engaged in
the award and administration of contracts. The procedures should also include submitting a
written disclosure of any potential conflict of interest to the awarding agency.

The completed procedures should be consistent with the requirements of the 2 CFR Part 200, the
Uniform Administrative Requirements, Cost Principles, and Audit Requirements for Federal
Awards and the current DOJ Financial Guide.

However, subsequent to our remote enhanced desk review and prior to the issuance of this
report, we received a copy of the EMAGES’ enhanced procurement policies and
procedures which include provisions to address actual or potential organizational conflicts
of interest when procuring products or services.

To close this recommendation, the EMAGES should:

      Develop a conflict of interest certification form and submit a copy to the OCFO for
        review;
      Disclose in writing any current or past potential conflict of interest on EMAGES
        procurement or purchases with DOJ funds.




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SV2021-Feb363895807-04 Commingling of Grant Funds – Individual accounts not
established

Based on an analysis of the EMAGES’ financial activities, we noted that the EMAGES is
commingling the grant 2018-CY-BX-0025 funds with other federal agencies’ funds within their
accounting system. As a result, we could not determine the actual expenditures by approved
budget categories and the total cumulative expenditures charged to this grant from the
EMAGES’ accounting records .

According to the Department of Justice (DOJ) Grants Financial Guide, Part II, Preaward
Requirements, Section 2.3, Standard of Financial Management Systems: “Although Federal
regulations do not require physical segregation of cash deposits, the accounting systems of all
recipients and subrecipients must ensure that agency funds are not commingled with funds from
other Federal or private agencies.

      You must account for each award separately.
      Recipients and subrecipients are prohibited from commingling funds on either a program-
       by-program or project-by-project basis.
      Funds specifically budgeted and/or received for one project may not be used to support
       another.
      If your automated general ledger accounting system cannot comply with this requirement,
       you should establish a system to adequately track funds according to each budget
       category.”

The EMAGES should establish and maintain a separate account number or cost center within
their accounting system for each federal grant so that funds can be easily distinguished from their
general/private funds and reconciled with the Federal Financial Report (FFR) submitted for the
grant. In addition, the EMAGES should enhance their policies and procedures to include
provisions for separately tracking expenditures and revenues for each grant within their
accounting system.

To close this recommendation, the EMAGES should:
      Submit a copy of the detailed accounting records to show separate account number or
       cost center within their accounting system for the grant so that funds can be easily
       distinguished from their other fund accounts
      Submit a copy of the policies and procedures which include provisions for separately
       tracking expenditures and revenues for each federal grant within their accounting system.




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SV2021-Feb363895807-05 Consultant service charge exceed rate limit

An analysis of the EMAGES' financial activities disclosed that the EMAGES charged award
2018-CY-BX-0025 with $450.63 in unauthorized contractual costs related to consultant fees that
exceeded the DOJ maximum threshold for consultant rate of $650 per day or $81.25 per hour
without prior approval from the Bureau of Justice Assistance (BJA) as shown on the following
table:

                                                Rate     Charged      Costs Limit
 Sample#            Account            Hours   Applied   to grant    ($81.25 rate)    Overcharged
             60060 ꞏ Consultants 2nd
    5                Chance            13.00    $89.23   $1,160.00        $1,056.25       $103.75
             60060 ꞏ Consultants 2nd
    6                Chance            10.5    $114.29   $1,200.00          853.125       $346.88
                                                                              Total       $450.63

Per the DOJ Grants Financial Guide, Part III Postaward Requirements, Section 3.6 Costs
Requiring Prior Approval, Consultant Rates, "Compensation for individual consultant services
is to be reasonable and consistent with that paid for similar services in the marketplace.

       Each grant-making component periodically establishes a prior approval threshold
        consultant rate. The current rate for each grant-making component is $650 per day or
        $81.25 per hour.
       This limit is specified in the terms and special conditions of the award.
       When the rate exceeds the limit for an 8-hour day, or a proportionate hourly rate
        (excluding travel and subsistence costs), a written prior approval is required from the
        grant-making component. Prior approval requests require additional justification.
       An 8-hour day may include preparation, evaluation, and travel time in addition to the
        time required for actual performance.
       Please note, however, that this does not mean that the rate can or should be the maximum
        limit for all consultants.
       Rates above the established maximum threshold rate will be reviewed on a case-by-case
        basis. Justification for exceeding the established maximum rate may include where a rate
        is established through a competitive bidding process."

The EMAGES should review all their contractual expenditures for payments to consultants in
excess of the DOJ threshold amount. Based on this analysis, the EMAGES may submit a written
request to the BJA requesting approval of all consultant payments in excess of the DOJ threshold
amount to include the above unauthorized costs. This request should include sufficient
justification for the charges in question, and explain why the costs were reasonable and
necessary for the operations of the project. If, at the discretion of the BJA, these costs are not
approved, they are unallowable and must be removed from the grant's accounting records, and
from the cumulative expenditures reported on their most recent FFR for the grant. A narrative
statement should be included in box 12 of the FFR explaining the reduction in previously
reported amounts. Further, the EMAGES should return funds related to unallowable costs to the
DOJ.


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To close this recommendation, the EMAGES should:

      Provide the OCFO with a copy of the EMAGES’ written approval from BJA for the
       above unauthorized contractual costs charged to the award.

Or, if not approved, the EMAGES should submit the following:

      A copy of the journal entries showing the removal of the unallowable costs;
      A copy of the detailed and cumulative general ledger accounts showing the removal of
       the unallowable costs. These accounting records should reconcile to the EMAGES’ most
       recent FFR;
      A copy of the revised FFR with a narrative statement included in the box 12 explaining
       the adjustments made; and
      The EMAGES should promptly return any Federal funds related to the unallowable costs
       to the DOJ using the Automated Clearing House (ACH) or Fed wire to avoid a delay in
       reflecting the refund on grant account balances:

                Complete one of the attached templates and coordinate the electronic transfer
                 with your bank.

                Email OCFO at ACRBelectronictransfer@ojp.usdoj.gov or call the OCFO
                 Customer Service Center at 1- 800-458-0786 for assistance.



SV2021-Feb363895807-06 Unsupported Costs – Other

Based on a judgmental sample review of expenditures, we noted that the EMAGES was unable
to fully support and justify the rational allocation method used to charge $800 in Other Costs to
award 2018-CY-BX-0025 as shown on the following table:

                             Sample #         Account           Amount
                               18        67500 ꞏ Rental/Space    $800.00

Title 2 CFR Part 200 – Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for Federal Awards, Subpart E – Cost Principles, Section 200.403, Factors
affecting allowability of costs, also states, "Except where otherwise authorized by statute, costs
must meet the following general criteria in order to be allowable under Federal awards:
   (a) Be necessary and reasonable for the performance of the Federal award and be allocable
       thereto under these principles.
   (b) Conform to any limitations or exclusions set forth in these principles or in the Federal
       award as to types or amount of cost items.
   (c) Be consistent with policies and procedures that apply uniformly to both federally
       financed and other activities of the non-Federal entity.


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   (d) Be accorded consistent treatment. A cost may not be assigned to a Federal award as a
       direct cost if any other cost incurred for the same purpose in like circumstances has been
       allocated to the Federal award as an indirect cost.
   (e) Be determined in accordance with generally accepted accounting principles (GAAP),
       except, for state and local governments and Indian tribes only, as otherwise provided for
       in this part.
   (f) Not be included as a cost or used to meet cost sharing or matching requirements of any
       other federally financed program in either the current or a prior period.
   (g) Be adequately documented."

Title 2 CFR Part 200, Section 200.404 Reasonable costs, further states, “A cost is reasonable if,
in its nature and amount, it does not exceed that which would be incurred by a prudent person
under the circumstances prevailing at the time the decision was made to incur the cost.”
Furthermore, Section 200.405 “Allocable costs. (a) A cost is allocable to a particular Federal
award or other cost objective if the goods or services involved are chargeable or assignable to
that Federal award or cost objective in accordance with relative benefits received.”

The EMAGES should provide the OCFO with documentation to show how the rental/space was
allocated from their cost center. If the rational allocation method used and justification cannot be
provided, these costs are unallowable and should be removed from the grant's account and from
the cumulative expenditures reported on the most recent FFR submitted for the grant. A
narrative statement should be included in box 12 of the FFR explaining the adjustments
made. The EMAGES should also return funds related to unsupported costs to the DOJ.

To close this recommendation, the EMAGES should:

        Provide adequate documentation to support the personnel costs in questioned.

Or, if adequate supporting documentation cannot be provided, the EMAGES should:

        Submit a copy of the journal entries showing the removal of the unsupported costs;
        Submit a copy of the detailed and cumulative general ledger accounts showing the
         removal of the unsupported costs. These accounting records should reconcile to the
         EMAGES’ most recent FFR;
        Submit a copy of the revised FFR with a narrative statement included in box 12
         explaining the adjustments made; and
        Promptly return any Federal funds related to unsupported costs to the DOJ.




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SV2021-Feb363895807-07 Award special condition violated – Unauthorized Expenditures

Based on an analysis of the EMAGES’ financial activities, we noted that the EMAGES did not
comply with the following special conditions of their award for the following grant:


        Grant           Special Condition (SC) Summary                     Date Released by GAN#/
                      SC# 42, 43, 44, and 45 related to financial     GAN system ID # 1087183 released the
 2018-CY-BX-0025          and programmatic requirements                       SCs on 02/07/2019

The above special conditions stated that the recipient may not obligate, expend or draw down
any award funds until the recipient meets certain programmatic and financial requirements, and a
Grant Adjustment Notice (GAN) has been issued removing the special conditions.

However, an analysis of the EMAGES’ financial activities revealed that the EMAGES signed off
on a contract with the Dr. Witherspoon from Chicago State University and obligated grant 2018-
CY-BX-0025 funds under this contract prior to the issuance of the GAN to release the above
Special Conditions as shown on the table below:

                       Special             Date GAN was             Obligation
     Grant            Condition#             approved                 Date                Contractor
                                                                                   Dr. Witherspoon from
2018-CY-BX-0025    42, 43, 44, and 45        02/07/2019             01/20/2019    Chicago State University

The EMAGES should submit a written request to the Bureau of Justice Assistance (BJA) for
retroactive approval of the contract and all costs obligated prior to the release dates of these
Special Conditions through a Grant Award Modification (GAM). If, at the discretion of the BJA,
the obligation is not approved, all expenditures incurred under this contract are disallowed. The
EMAGES should perform an analysis of all expenditures incurred under this contract and
remove the expenditures from the grant’s account. As a result, the most recent FFR submitted
for this grant should be revised to remove these expenditures. A narrative statement should be
included in Box 12 of the FFR to explain the reduction in previously reported expenditures.
Additionally, the Police should return funds related to unallowable costs to the DOJ.

To close this recommendation, the EMAGES should:
        Submit a copy of the written approval from the BJA approving the expenditures prior to
         the release date of the special conditions through a GAM.

Or if not approved, the EMAGES should:

      Submit a copy of the journal entries showing the removal of the unallowable costs from
       the grant’s accounts.
     Submit a copy of the detailed and cumulative general ledger accounts showing the
       removal of the unallowable costs. These accounting records should reconcile with the
       most recent FFR submitted for the grants.
      Promptly return any Federal funds related to unallowable costs to the DOJ.


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cc:   Tracey Willis, Grant Program Manager, BJA

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      Donna Simmons, Audit Liaison, OVW
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      Jeff Haley, Deputy Director, Audit and Review Division, OAAM
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      Edith Sunga, Financial Monitoring Manager, OCFO
      Jewani Servara, Financial Monitoring Manager, OCFO
      JustGrants System (GMOC Site visit Converted to Desk Review ID#)




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              Establishing, Managing & Generating Effective Services, Inc.
                          Schedule of Expenditures Questioned
                                                                           Amount        Amount
 Finding Label    Grant Number               Description                  Questioned    Recovered
    SV2021-       2018-CY-BX-
Feb363895807-06       0025           Unsupported Costs – Other               $800.00        $0.00
    SV2021-       2018-CY-BX-    Consultant service charges exceed rate
Feb363895807-05       0025                        limit                      $450.63        $0.00
                                                 Total                      $1,250.63       $0.00




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